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TRINA A. HIGGINS, United States Attorney (#7349)
RUTH HACKFORD-PEER, Assistant United States Attorney (#15049)
AHMED ALMUDALLAL, Trial Attorney (NY No. 5090832)
Attorneys for the United States of America
111 South Main Street, Ste. 1800 • Salt Lake City, Utah 84111
Telephone: (801) 524-5682



                            IN THE UNITED STATES DISTRICT COURT

                                         DISTRICT OF UTAH


UNITED STATES OF AMERICA,                               CASE NO. 2:20-CR-0073-DS

                       Plaintiff,                       GOVERNMENT’S REQUEST FOR
                                                        MISCELLANEOUS RELIEF
       vs.
                                                        Judge David Sam
SERGIO SOSA

                       Defendant.



       The Government was surprised by the Court’s order issued yesterday regarding Mr. Sergio

Sosa’s motions for a reduction in sentence and compassionate release. Pursuant to the Court’s General

Order 22-022, “[i]f the Motion demonstrates that the defendant is not entitled to relief (e.g., the

defendant has failed to exhaust all administrative right, filed a successive motion to a previously

denied motion without identifying new extraordinary or compelling circumstances), the court will

issue an order denying the Motion.” Upon receiving the Court’s order directing counsel and probation

“to comply with the procedures contained in the court’s General Order 22-022,” ECF No. 23, AUSA

Hackford-Peer and the undersigned reached out to your Honor’s law clerk for clarification. During the

call your Honor’s chambers, we informed staff that the Government would file a motion addressing

the defendant’s failure to exhaust all administrative remedies and that should your Honor require

additional argument on the defendant’s medical claims, we would be happy to do so. In anticipation

of such a request, we contacted the Bureau of Prisons to obtain a copy of Mr. Sosa’s medical file. We
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were never given an opportunity to address those claims and to provide the Court with a copy of his

records that paint a very different picture than that which Mr. Sosa portrayed in his motion. For

example, as recently as October 12, 2023, the records seem to indicate a concern with Mr. Sosa’s

compliance in taking his medications.



The Government would appreciate an opportunity to be heard on the substance of Mr. Sosa’s claims

and would ask the Court to reconsider its position. We ask that your Honor stay yesterday’s

Order/Decision and allow the Government to submit a response with exhibits in very short order.


       DATED this 6th day of December, 2023.

                                                       Respectfully submitted,

                                                       TRINA A. HIGGINS
                                                       United States Attorney


                                                       /s/ Ahmed Almudallal
                                                       Ahmed Almudallal
                                                       Trial Attorney
                                                       U.S. Department of Justice Tax Division




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